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UNITED STATES DISTRICT COURT                                                   Rev. May 2014
SOUTHERN DISTRICT OF NEW YORK
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     SANTIAGO GOMEZ
                                                                  CIVIL CASE DISCOVERY PLAN
                                            Plaintiff(s),         AND SCHEDULING ORDER
                 - against -
      INVESTIGATOR MARK LUGO, INVESTIGATOR
      GERALD BROWN, INVESTIGATOR
      CARLTON GUIDEN             Defendant(s).                      22   CV    05731           (NSR)

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       This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation with
counsel, pursuant to Fed. R. Civ. P. 16 and 26(f):

        1.       All parties [consent] [do not consent] to conducting all further proceedings before
                 a Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(c).
                 The parties are free to withhold consent without adverse substantive consequences.
                 (If all parties consent, the remaining paragraphs of this form need not be
                 completed.)

        2.       This case [is] [is not] to be tried to a jury.

        3.                                                               06/02/2023
                 Joinder of additional parties must be accomplished by ______________________.

        4.                                                 06/02/2023
                 Amended pleadings may be filed until _____________________.        Any party
                 seeking to amend its pleadings after that date must seek leave of court via motion.

        5.                                                          05/26/2023
                 Interrogatories shall be served no later than ___________________,     and responses
                 thereto shall be served within thirty (30) days thereafter. The provisions of Local
                 Civil Rule 33.3 [shall] [shall not] apply to this case.

        6.       First request for production of documents, if any, shall be served no later than
                   05/26/2023
                 ____________________.

        7.                                                         09/29/2023
                 Non-expert depositions shall be completed by ____________________________.

                 a.       Unless counsel agree otherwise or the Court so orders, depositions shall not
                          be held until all parties have responded to any first requests for production
                          of documents.

                 b.       Depositions shall proceed concurrently.

                 c.       Whenever possible, unless counsel agree otherwise or the Court so orders,
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                      non-party depositions shall follow party depositions.

      8.      Any further interrogatories, including expert interrogatories, shall be served no
                             10/20/2023
              later than _______________________.

      9.      Requests to Admit, if any, shall be served no later than
                   10/20/2023
              ______________________.

      10.                                                      12/01/2023
              Expert reports shall be served no later than ______________________.

      11.                                                               01/09/2024
              Rebuttal expert reports shall be served no later than ______________________.

      12.                                                  02/16/2024
              Expert depositions shall be completed by ______________________.

      13.     Additional provisions agreed upon by counsel are attached hereto and made a part
              hereof.

      14.     ALL DISCOVERY SHALL BE COMPLETED BY ______________________.
                                                      03/01/2024

      15.     Any motions shall be filed in accordance with the Court’s Individual Practices.

      16.     This Civil Case Discovery Plan and Scheduling Order may not be changed without
              leave of Court (or the assigned Magistrate Judge acting under a specific order of
              reference).

      17.     The Magistrate Judge assigned to this case is the Hon.                                   .

      18.     If, after entry of this Order, the parties consent to trial before a Magistrate Judge,
              the Magistrate Judge will schedule a date certain for trial and will, if necessary,
              amend this Order consistent therewith.

      19.     The next case management conference is scheduled for _____________________,
              at ____________. (The Court will set this date at the initial conference.)



      SO ORDERED.

Dated: White Plains, New York
       _______________________


                                                              Nelson S. Román, U.S. District Judge
